     Case: 1:19-cv-07066 Document #: 19 Filed: 11/13/19 Page 1 of 1 PageID #:2004




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

EPIC GAMES, INC.,

        Plaintiff,                                              Case No.: 1:19-cv-07066

v.                                                              Judge Joan H. Lefkow

THE PARTNERSHIPS AND UNINCORPORATED                             Magistrate Judge Susan E. Cox
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

       PLAINTIFF’S MOTION FOR ENTRY OF A PRELIMINARY INJUNCTION

       Plaintiff hereby moves this Honorable Court for entry of a Preliminary Injunction. The

scope of the Preliminary Injunction is substantially identical to the Temporary Restraining Order

entered on November 6, 2019. In support of its Motion, Plaintiff herewith submits a Memorandum

of Law and a further Declaration of Keith A. Vogt.

DATED: November 13, 2019                             Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        I hereby certify that on November 13, 2019, I will electronically file the foregoing with
the Clerk of the Court using the CM/ECF system, I will electronically publish the documents on
a website to which the Defendant Domain Names that have been transferred to Epic Games’
control now redirect, and I will send an e-mail to the e-mail addresses identified in Exhibit 2 to
the Declaration of Paul Varley and any e-mail addresses provided for Defendants by third parties
that includes a link to said website.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.
